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             9                           UNITED STATES DISTRICT COURT
            10             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
            11
     z
     S
            12 MARC I. WILLICK, an individual,                 CASE NO. 2:15-cv-00652-AB-CE

-J          13                  Plaintiff,                     [Assigned for to Hon. Andre Birotte Jr.;
‘a
                                                               and Magistrate Judge Charles F. Eick]
‘a   <C
            14             V.
Q~3
z ~                                                            NOTICE OF MOTION AND
            15 NAPOLI BERN RIPKA &                             MOTION TO LIFT STAY AND
               ASSOCIATES, LLP, a purported                    LEAVE TO AMEND TO ADD
            16 limited liability partnershipS NAPOLI           PARTIES
LU
               BERN RIPKA SHKOLNIK &
-J
            17 ASSOCIATES, LLP, a purported
               limited liability partnershipS NAPOLI
     x
            18 BERN RIPKA SHKOLNIK, LLP, a                     Hearing Date: March 2,2018
               purported limited liability partnership;        Time: 10:00 a.m.
            19 NA?OLI BERN RIPKA, LLP, a                       Courtroom: 7B
               purported limited liability partnership;        Judge: Honorable Andre Birotte, Jr.
            20 NA?OLI KAISER BERN, LLP, a
               purported limited liability partnershjp~
            21 MARC J. BERN, an individuaF PAUL
               J. NAPOLI, an individual; and bOES 1            Action filed:   1212 14 (Los Angeles
            22 through 50,                                                       County Superior Court
                                                               Trial Date:     None set
            23                  Defendants.
            24
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                 3673142                                                      Case No. 2:1 5-cv-00652-AB-CE
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         1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD HEREIN:
         2              PLEASE TAKE NOTICE that on Friday March 2, 2018 at 10:00 a.m., or as
         3 soon thereafter as the matter may be heard in Courtroom 7B of the United States
         4 District Court, 350 West First Street, Los Angeles, California 90012 before the
         5 Honorable Andre Birotte, Jr., Plaintiff Marc Willick, through his counsel, will and
         6 hereby does move this Court pursuant to Federal Rule of Civil Procedure 1 5(a)(2)
         7 for a temporary lifting of the stay and for leave to file a First Amended Complaint.
         8              The stay of this case should be temporarily lifted and leave to amend under
         9 Rule 15 should be granted because the proposed amendment is timely, made in good
        10 faith, will not cause any prejudice to the Defendants.
        11              This motion is made following the conference of counsel pursuant to L.R. 7-3
        12 which took place via letter on January 17, 2018, as more fully described in the
        13 Declaration of Kelly Halford dated February 2,2018 (“Halford Decl.”).
        14              This Motion is based on this Notice, the accompanying Memorandum of
        15 Points and Authorities and exhibits thereto, the Halford DecI. and exhibits thereto,
        16 the record and pleadings on file herein, any oral argument of counsel, and such other
~ ~     17 evidence as may be presented at the time of hearing.
        18
        19 DATED: February 2, 2018                   Respectfully submitted,
        20                                           MILLER BARONDESS, LLP



                                                     By:       &
                                                           JAMES GOLDMAN
        24                                                 Attorneys for Plaintiff MARC I.
        25                                                 WILLICK
        26
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        1                     MEMORANDUM OF POINTS AND AUTHORITIES
        2 I.           INTRODUCTION
        3              As the Court may recall, this case concerns two contracts pursuant to which
        4 Defendant Napoli Bern Ripka & Associates, LLP (“Napoli Bern”), a New York
        5 based law firm, employed Plaintiff Marc Willick (“Willick”), a California lawyer.
        6 Willick’s compensation was based, in substantial part, on fees received by Napoli
        7 Bern on cases that Willick or Willick’s “Referral Sources” referred to Napoli Bern.
        8 Willick contends, among other things, that Napoli Bern and certain affiliated entities
        9 to successors-in-interest breached their obligation to Willick by collecting fees on
       10 cases referred to them by Willick and his Referral Sources and then refusing to
       11 make any payments to Willick on account of the fees that they received on those
~<     12 cases.
       13              On August 20, 2015, this Court granted a motion filed by defendants to
       14 compel arbitration of Willick’s claims and stayed this case pending the outcome of
       15 the arbitration. Arbitration proceedings are currently underway. A retired judge of

       16 the Los Angeles Superior Court, the Hon. Richard Stone, is the arbitrator. An
~      17 Interim Award has been issued that requires Napoli Bern to provide an accounting
       1 8 for the fees that it, any of the other defendants, or any law firm in which Defendant
       19 Marc Bern or Defendant Paul Napoli have been affiliated received on cases referred
       20 by Willick’s Referral Sources. (Declaration of Kelly Halford (“Halford Deci.”) Ex.
       21 B.)
       22              The purpose of the accounting is, obviously, to determine the amount that
       23 Defendants have received as fees from cases referred by Willick’s Referral Sources
       24 and then to calculate the amount of Willick’s damages for the breach of his contracts
       25 with Napoi Bern. Willick has learned that that some of the cases referred by his
       26 Referral Sources may still be pending and are being handled, either directly or
       27 indirectly, by two new law firms created by Defendants Paul Napoli (“Napoli”) and
       28 Marc Bern (“Bern”). Additionally, it has come to light that other law firms
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             1 affiliated with Napoli and/or Bern may also have accepted cases from Willick’s
             2 referral sources, and Willick seeks to add these firms as defendants in this case:
             3              •    Napoli Bern, LLP;
             4              •    Napoli, Kaiser, Bern & Associates, LLP;
             5              •    Napoli, Bern & Associates, LLP;
             6              •    Law Offices of Napoli Bern, LLP;
             7              •    Law Offices of Napoli Bern Ripka & Associates LLP;
             8              •    Law Offices of Napoli Bern Ripka Shkolnik LLP;
             9              •    Law Offices of Napoli Bern Ripka Shkolnik & Associates LLP;
            10              •    Pasternack Tilker Napoli Bern, LLP;
            11              •    Napoli Shkolnik PLLC;
            12              •    Napoli Law PLLC;
            13              •    Paul Napoli Law PLLC;

O~3   -
            14              •    BernRipkaLLP;
            15              •    Marc J. Bern & Partners LLP;
~           16              •    Napoli&Bern,LLP;
j   ~       17              •    MarcJ.BernPLLC;
            18              •    Napoli, Kaiser & Associates, LLP;
            19              •    Napoli, Bern, Krentsel & Guzman, LLP;
            20              •    Worby, Groner, Edelman & Napoli, Bern, LLP;
            21              •    Paul Napoli PLLC.
            22              Together these firms constitute the “Proposed Defendants.” Willick believes
            23 that the Proposed Defendants should be held liable to Willick for fees they received
            24 from cases originating with Willick’s Referral Sources. Thus, Willick requests
            25 leave of the Court to add the Proposed Defendants to this case, to ensure that he may
            26 be able to recover any awards made in his favor. This motion to add the Proposed
            27 Defendants is timely, made in good-faith, would not cause any prejudice to the
            28 current defendants, and is not futile. A copy of the proposed First Amended
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      1 Complaint is attached hereto as Exhibit 1. A chart detailing the changes in the
      2 Proposed First Amended Complaint is attached hereto as Exhibit 2.
      3 II.          PROCEDURAL HISTORY
     4               In May 2011, Willick, a California-based attorney who specializes in
      5 representing victims of mesothelioma, entered into an employment agreement (the
      6 “May Contract”) with the New York-based law firm of Napoli Bern Ripka &
      7 Associates, LLP. (Halford Deci. Ex. C.) The May Contract provides, among other
      8 things, that Willick would receive a portion of the fees received by the Defendants
      9 on cases originating from Willick’s Referral Sources insofar as they are identified in
     10 the May Contract. (Id.,       § 2.4.)   The May Contract also provides that Willick would
     11 retain his Referral Sources even after the termination of the May Contract and
     12 would be entitled to compensation if Defendants improperly usurped those sources.
     13 (Id.    § 2.4(u).)
     14              Willick’s relationship with Napoli Bern did not work out. He left the firm in
     15 December 2012. However, he has never received compensation for the literally
D

     16 thousands of cases that he referred to the firm or that Defendants accepted from
     17 Willick’s Referral Sources either before or after the termination of the May
     18 Contract.
£    19       Since then, Napoli Bern has evolved into multiple iterations of the same firm,

    20 including Napoli Bern Ripka Shkolnik & Associates, LLP; Napoli Bern Ripka
    21    Shkolnik, LLP; Napoli Bern Ripka, LLP; and Napoli Kaiser Bern, LLP (collectively
    22 with Napoli Bern, the “Entity Defendants”). These firms are named as defendants
    23 in this lawsuit, and as discussed below, they are all successors-in-interest to Napoli
    24 Bern.
    25               In 2014, Willick filed this lawsuit in the Los Angeles Superior Court against
    26 the Entity Defendants and their two principals, Paul Napoli, and Marc Bern
    27 (collectively, “Defendants”), to obtain, among other things, an accounting of the
    28 fees owed by Defendants to Willick for cases originating from his Referral Sources.
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       1             After removing this case from Superior Court, Defendants petitioned to
       2 compel arbitration. (Dkt. ## 27, 28, 30.) Although only Napoli Bern was a party to
       3 the contract with Willick that contained the arbitration clause, the petition was filed
       4 behalf of all of them on the grounds all of them were, in essence if not technically,
       5 parties to the contract and entitled to enforce the arbitration provision. (Halford
       6 Decl. Ex. D, at 8, (Dkt. # 38).) “Although the alleged alter ego defendants and
       7 individual defendants named in PLAINTIFF’S complaint were not signatories of the
       8 agreement, the FIRM clearly intended the arbitration provision to cover them.” (Id.)
       9 Defendants argued that
      10             The AGREEMENT between PLAINTIFF and the FIRM contemplates
                     an ongoing relationship between the two sides. The only way that the
      ii             FIRM would be able to fulfill its promises under the AGREEMENT is
                     through the acts of its employees and partners..
      12             (Id. at 10.)
      13             If PLAINTIFF is goiflg to claim that the ENTITIES are the alter ego of
                     the FIRM then all DEFENDANTS must be bound by the
      14             AGREEMENT. Thus, because the FIRM is bound by the arbitration
                     provision in the Agreement, all other ENTITIES should be bound as
~     15             well.
      16             (Id.atll.)
      17             This Court granted the petition on August 20, 2015. (Dkt. #39.)
                     Arbitration commenced, but little progress was made despite Willick’s
      18
      19 attempts to obtain relevant discovery from the Defendants. In fact, Willick had to
      20 resort to seeking information from one of his referral sources, Mary Keyes, an
      21 attorney located in Maryland.
      22             On September 29, 2016, Willick requested that this Court lift the stay to allow
      23 Willick to subpoena testimony and documents from Ms. Keyes. (Dkt. # 44.) This
      24 Court granted Willick’s request, and Willick served a subpoena on Ms. Keyes.
      25 (Dkt. # 45.) Ms. Keyes moved to quash the subpoena, but the United States District
      26 Court for the District of Maryland ordered her to produce a list of cases she had
      27 referred to Defendants and any fees she had received. (Halford Decl. Ex. E.) Ms.
      28 Keyes produced a list of client names and fees (the “Keyes List”), but refused to
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            1 provide any additional information, such as the dates covered by her list of referrals.
            2 The Keyes List totaled 2,521 cases.
            3              Based in part on the Keyes List, Willick requested a hearing on the merits on
            4 his first cause of action for an accounting. This request resulted in an Interim
            5 Award, issued in January 2018, ordering an accounting against Napoli Bern Ripka
            6 & Associates, LLP for the fees received on cases referred by Willick’s Referral
            7 Sources. (Halford DecI. Ex. B.) All of the other defendants are obligated to
            8 cooperate with the accounting and provide any information requested by the
            9 independent accountant that is within their custody or control. (Id. at 6-7.)
           10              In October 2017, Ms. Keyes filed a lawsuit in the United States District Court
           11 for the District of Maryland, 1: 1 7-cv-2972-RDB, in which she brought claims
           12 against numerous law firms operated by Defendants Napoli and Bern. Evidently,
           13 Defendants “stiffed” Ms. Keyes too. She is seeking an accounting, declaratory
~   ~_     14 judgment, breach of contract, unjust enrichment, and constructive trust. (Halford
           15 Decl. Ex. F.) As part of that lawsuit, Ms. Keyes filed a declaration stating, that she
           16 had never contacted any attorney associated with any law firm operated by Napoli
           17 or Bern prior to Willick’ s introduction to them in 2011, and that she subsequently
           18 referred cases to other Napoli-Bern-affiliated law firms. (Halford Decl. Ex. G, ¶~J 4,
           19 25.) These firms are among the Proposed Defendants. The Proposed Defendants
           20 also include, in addition to the firms identified by Ms. Keyes in her lawsuit, other
           21 firms operated by Napoli and Bern during the time period in which Willick’s
           22 Referral Sources referred cases         May 2011 to the present. The Proposed
           23 Defendants are liable to Willick on the grounds that they have received the benefits
           24 of the May 2011 Contract (i.e., fees on cases referred to them by Willick’s Referral
           25 Sources) and are, in essence, successors-in-interest to Napoli Bern. Willick requests
           26 leave of court to add them as defendants in this case.
           27 III.         APPLICABLE LAW
           28              Rule 15 of the Federal Rules of Civil Procedure provides for liberal
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      1 amendments to pleadings. Fed. R. Civ. P. 1 5(a)(2) (“The court should freely give
      2 leave when justice so requires.”). Courts consider four factors in determining
      3 whether to grant leave to amend: (1) whether the party seeking to amend has
      4 engaged in undue delay; (2) whether the amendment is motivated by bad faith or an
      5 attempt to delay; (3) whether the amendment would cause undue prejudice for the
      6 non-moving party; and (4) whether the proposed amendment would be futile.
      7 Foman v. Davis, 371 U.S. 178, 182 (1962); Sharkey v. O’Neal, 778 F.3d 767, 774
      8 (9th Cir. 2015).
      9 IV.         THE COURT SHOULD TEMPORARILY LIFT THE STAY AND
     10             GRANT LEAVE TO AMEND THE COMPLAINT
     11             A.    The Court Can Lift the Stay
     12             “The power to issue a stay ‘is incidental to the power inherent in every court
 ~   13 to control the disposition of the cases on its docket.     .   .   .‘   The power to grant a stay
4~   14 includes the inherent power and discretion to lift that stay.” Thomas v. Home Depot
 ~   15 USA, Inc., No. C06-02705 MJJ, 2007 WL 2140917, at *1 (N.D. Cal. July 25, 2007)
     16 (granting a motion to lift a stay pending resolution of a related case for the purpose
     17 of amending the complaint) (internal citations omitted). Moreover, courts have the
     18 power to lift a stay of arbitration to allow amendment of a complaint. Estrella v.
     19 Freedom Fin. Network, LLC, No. CV 09-03156 SI, 2011 WL 4595017, at *2 (N.D.
     20 Cal. Oct. 3, 2011).
     21             Here, the Court has the power to lift the stay and should do so. The addition
     22 of the Proposed Defendants in the First Amended Complaint will not interfere with
     23 the pending arbitration. Rather, if the Proposed Defendants choose to join in the
     24 arbitration, it will allow for a more fulsome adjudication of Willick’s claims.
     25             B.    The Court Should Grant Leave to Amend
     26             Willick’s request for leave to amend meets each of the Foman requirements.
     27 It is timely and made in good faith, will not cause any prejudice to the Defendants,
     28 and is not futile. Thus, under the liberal standard of Rule 1 5(a)(2), the Court should
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             1 grant Willick leave to amend his Complaint to add the Proposed Defendants.
             2                    1.     Willick’s Motion for Leave to Amend is Timely and Made in
             3                           Good Faith
             4              Courts often consider the timeliness and motivation of a request for leave to
             5 amend together. 6 Charles A. Wright & Arthur R. Miller, Federal Practice and
             6 Procedure        § 1487 (“When the court inquires into the good faith of the moving party,
             7 it typically will take account of the movant’s delay in seeking the amendment.”)
             8              Here, Willick’s motion is made in good faith and is timely. It has only
             9 recently come to light that the Proposed Defendants may have received cases from
            10 Willick’s referral sources and that there may still be pending cases for which
            11 Willick is entitled to compensation. Previously, Willick had been unsure of how
            12 long after the termination of the May Contract Ms. Keyes continued to refer cases
            13 firms controlled by the Defendants. However, Ms. Keyes’ October 2017 lawsuit
            14 reflects that she continued to refer cases through 2014 and that the Proposed
   ~        15 Defendants received fees for those cases. (Halford Decl. Ex F.) Further, Ms.
            16 Keyes’ complaint indicates that upon the dissolution of the latest firm created by
~ ~    :-   17 Paul Napoli and Marc Bern into their current separate firms of Bern Ripka and
  ~:        18 Napoli Shkolnik, the cases were split via a coin toss. (Id. ¶~J 42, 44.) Thus, the
   £        19 Proposed Defendants, having been in operation and under the control of Defendants

            20 Napoli and/or Bern, are liable to Willick for any cases on which they received (or
            21 will receive) fees that originated from Willick’s Referral Sources.
            22              Given this new information, Willick now moves to amend the Complaint to
            23 include the Proposed Defendants. As further evidence of good faith, Willick will
            24 not oppose a request by the Proposed Defendants to join in the pending arbitration,
            25 if they so choose. Indeed, Willick would welcome them to join in the pending
            26 arbitration.
            27                    2.    Defendants Will Not Suffer Any Prejudice
            28              The most heavily weighted factor in evaluating a request for leave to amend is
                 367314.2                                      7                   CaseNo. 2:15-cv-00652-AB-CE
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         1 whether the amendment will cause prejudice to the other party. Eminence Capital,
         2 LLCv. Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir. 2003). Moreover, the party
         3 opposing the amendment bears the burden of demonstrating prejudice. Cosmetic
         4 Alchemy, LLC v. Herrel, CV 10-9858 GAF (VBKx), 2011 WL 13218020, at *2
         5 (C.D. Cal. May 12, 2011).
         6              Here, the proposed amendment will not prejudice any of the Defendants.
         7 Willick is not seeking to add additional claims against any of the existing
         8 Defendants or to increase their exposure. Similarly, there will be no delay of this
         9 proceeding that could prejudice the Defendants. At present, discovery remains
        10 ongoing in the arbitration, and the additional of these defendants will help, not
        11 hinder, the accounting process.
        12                    3.    The Amendment Is Not Futile
        13              An amendment is futile if it could not withstand a motion to dismiss under

        14 Rule 12(b)(6) of the Federal Rules of Civil Procedure. Fraher v. Heyne, No. 1:10-
        15 cv-0951-LJO-MJS (PC), 2013 WL 394050, at *1 (E.D. Cal. Jan. 30, 2013). To be
        16 viable, a pleading “must contain sufficient factual matter, accepted as true, to ‘state
        17 a claim for relief that is plausible on its face.’ A claim has facial plausibility when
>~      18 the plaintiff pleads factual content that allows the court to draw the reasonable
        19 inference that the defendant is liable for the misconduct alleged.” Asheroft v. Iqbal,
       20 556 U.S. 662, 678 (2009) (internal citations omitted).
       21               Willick’s requested amendments are not futile. Since Ms. Keyes referred
       22 cases to the Proposed Defendants and Napoli and Bern controlled the Proposed
       23 Defendants, these entities will be liable to Willick for any fees received from cases
       24 originating from Willick’s referral sources. Both Napoli and Bern were principals
       25 in Defendant Napoli Bern Ripka & Associates, LLP, which signed the May
       26 Contract, and thus were well aware of the obligations to compensate Willick for any
       27 usurpation of his Referral Sources. Indeed, it was Napoli who signed the May
       28 Contract on behalf of Napoli Bern Ripka & Associates, LLP. (Halford DecI. Ex. C.)
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             1 The mere fact that Napoli and Bern have transferred those cases to different firms
             2 under their control does not nullii~’ their obligations. Thus, Willick has, at the very
             3 least, a plausible claim for relief for fees due to him from the Proposed Defendants.
             4 V.           CONCLUSION
             5              For the reasons stated above, Plaintiff Marc Willick respectfully requests that
             6 the Court temporarily lift the stay of proceedings to allow Willick to amend his
             7 Complaint to add the Proposed Defendants as parties.
             8
             9 DATED: February 2, 2018                    Respectfully submitted,
            10                                            MILLER BARONDESS, LLP



     ~      13                                            By:
~
     3
            14                                                  JAMESGOLDMAN
                                                                Attorneys for Plaintiff MARC I.
~           15                                                  WILLICK

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                   EXHIBIT 1

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                   6   Attorneys for Plaintiff MARC I. WILLICK
                   7
                   8
                   9                            UNITED STATES DISTRICT COURT
                  10              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

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      2           12 MARC I. WILLICK, an individual,             CASE NO. 2:15-cv-00652-AB-CE
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      U?
                  13                   Plaintiff,                [Assigned for to Hon. Andre Birotte Jr.;
CA,   W~
           4,
                                                                 and Magistrate Judge Charles F. Eickj
U,
_13_       —      14              V.
                                                                 FIRST AMENDED COMPLAINT
~                15 NAPOLI BERN RIPKA &                          FOR:
                    ASSOCIATES, LLP, a purported                 (11 AN ACCOUNTINGS
           Z     16 limited liability partnership; NAPOLI        CT) BREACH OF CONtRACT;
LU
—1
      4$
                    BERN RIPKA SHKOLNIK &                        (3~ FRAUD
                 17 ASSOCIATES, LLP, a purported                 (4~ VIOLAtION OF CAL. BUS. &
                    limited liability partnership; NAPOLI        PROF. CODE S 17200; AND
                 18 BERN RIPKA SHKOLN1K, LLP, a                  (51 NEGLIGENT
                    purported limited liability partnership;     MISREPRESENTATION
                 19 NA?OLI BERN RIPKA, ftP, a
                    purported limited liability partnership;
                 20 NA~POLI KAISER BERN, LLP, a
                    purported limited liability partnershjp
                 21 MARC J. BERN, an individual’ PAUL            Action filed:   12/12/14 (Los Angeles
                    J. NAPOLI an rndividuaF NA~OLI                                 County Supenor Court
                 22 BERN, LLi a limited liatil4y                 Trial Date:     None set
                    paftnersh~p WAPOLI, KAISER, BERN
                 23 & ASSOCfATES1 LLP a limited
                    liabilitypartnership; NAPQLI, BERN
                 24 & ASSOCIATES2 LLP, a limited
                    liability partnership; LAW OFFICES
                 25 OF NAFOLI BERN, LLP a limited
                    liability partnershiiv LAW OFFICES
                 26 OF NAFOLI BERN RIPKA &
                    ASSOCIATES LLP, a limited liability
                 27 partnershiix LAW OFFICES OF
                    NAPOLI B~RN RIPKA SHKOLNIK
                 28 TJ.P. a limited liability nartnershjn:
                       370210.1                                                    Case No. 2: i 5-cv-00652-AB-CE
                                                     FIRST AMENDED COMPLAINT
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            1 LAW OFFICES OF NAPOLI BERN
              RIPKA SHKOLNIK & ASSOCIATES
            2 LLP, a limited liability partnership
              PASTERNACK TILKER NAPOL!
            3 BERN, LLP, a limited liability
              partnership; NAPOLI SHKOLNIK
            4 PLLC, a professional limited liability
              con~pany; NAPOLI LAW PLLC, a
            5 professional limited liability company;
              PAUL NAPOLI LAW PLLC, a
            6 professional limited liability company;
              BERN RIPKA LLP, a limited liability
            7 partnership; MARC J. BERN &
              PARTNERS LLP, a limited liabiliw
            8 partnership; NAPOLI & BERN LLP, a
              limited liability partnership; MARC J.
            9 BERN PLLC, a professional limited
              liability company; NAPOLI, KAISER
           10 & AS.SOCIATES2 LLP, a limited
              liability partnership; NAPOLI, BERN,
           11 KRENI’SEL & GOZMAN, LLP, a
              limited liability partnership; WORBY,
           12 GRONER, EJIELMAN & NAPOLI,
              BERN, LLP, a limited liability
           13 partnership; PAUL NAPOLI PLLC, a
              professional limited liability company,
~          14 and DOES lthrough50,
c;~        15              Defendants.

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_J   -
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                370210.1                                2            Case No. 2: 15-cv-00652-AB-CF
                                           FIRST AMENDED COMPLAINT
                                                                           Page 12 of 45
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     1                                            JURISDICTION
     2               1.    This case was originally filed in the Superior Court of the State of
     3    California for the County of Los Angeles. Defendants Paul Napoli, Marc Bern, Napoli
     4    Bern Ripka & Associates, LLP; Napoli Bern Ripka Shkolnik, LLP; Napoli Bern
     5    Ripka, LLP; Napoli Bern Ripka Shkolnik & Associates, LLP; and Napoli Kaiser Bern,
     6    LLP removed this case to this Court pursuant to 28 U.S.C.              §~   1332(d), 1441, and
     7    1446.
     8              2.     This Court has jurisdiction over this action under the diversity of
     9    citizenship statute, 28 U.S.C.      §   1332(a). This action is between citizens of different
    10    states for an amount that exceeds the sum value of $75,000, exclusive of interest and
    11    costs.
    12                                     ALLEGATIONS OF FACT

    13              Plaintiff Marc I. Willick (“PLAINTIFF”) alleges:
    14              3.    Plaintiff is, and at all times relevant to this case has been, a resident of Los

~   15    Angeles County and duly licensed to practice law in the State of California.
    16              4.     Defendants Marc J. Bern (“Bern”) and Paul J. Napoli (“Napoli”) are
    17    lawyers residing New York, and doing business throughout the United States,
    18    including in California in Los Angeles, San Francisco and Orange County. Defendant
    19    Bern appeared as counsel at settlement conferences in Los Angeles County Superior
    20    Court in lawsuits relevant to this Complaint. Defendant Napoli appeared as counsel in
    21    Los Angeles Superior Court in at least one coordinated status conference. Both
    22    Defendants Bern and Napoli have signed multiple contracts doing business in
    23    California including multiple employment contracts, local counsel agreements and a
    24    lease agreement in Los Angeles. DEFENDANTS and each of them repeatedly told
    25    their clients and the public that they were “California Injury Attorneys” and
    26    “California Mesothelioma Attorneys” with “California law offices.” In or about 2011,
    27    PLAINTIFF delivered to DEFENDANTS registration documentation for defendant
    28    Napoli Bern Ripka & Associates LLP with the California Secretary of State and forms
         370210.1                                          3                    Case No. 2:I5-cv-00652-AB-CE
                                             FIRST AMENDED COMPLAINT
                                                                                       Page 13 of 45
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       1    from the State Bar of California for their completion.
       2              5.   Defendants Napoli Bern Ripka & Associates, LLP; Napoli Bern Ripka
       3    Shkolnik, LLP; Napoli Bern Ripka, LLP; Napoli Bern Ripka Shkolnik & Associates,
       4    LLP; Napoli Kaiser Bern, LLP; Napoli Bern, LLP; Napoli, Kaiser, Bern & Associates,
       5    LLP; Napoli, Bern & Associates, LLP; Law Offices of Napoli Bern, LLP; Law Offices
       6    of Napoli Bern Ripka & Associates LLP; Law Offices ofNapoli Bern Ripka Shkolnik
       7    LLP; Law Offices of Napoli Bern Ripka Shkolnik & Associates, LLP; Pasternack
       8    Tilker Napoli Bern LLP; Napoli & Bern, LLP; Napoli Bern Krentsel & (3uzman, LLP;
       9    Worby, Groner, Edelman & Napoli, Bern, LLP (collectively, the “Napoli Bern
      10    Entities”) are purportedly limited liability partnerships, but, in reality, are names used
      11    by Napoli and Bern to conduct their personal business.
      12              6.   Defendants Napoli Shkolnik PLLC; Napoli Law PLLC; Paul Napoli Law
      13    PLLC; Napoli Kaiser & Associates, LLP, and Paul Napoli PLLC (collectively, the
4~    14    “Napoli Entities”) are purportedly limited liability partnerships and companies, but, in
      15    reality, are names used by Napoli to conduct his personal business.
 F~   16              7.   Defendants Bern Ripka LLP; Marc J. Bern & Partners LLP; Marc J Bern,
~~    17    PLLC (collectively, the “Bern Entities”) are purportedly limited liability partnerships
      18    and companies, but in reality, are names used by Bern to conduct his personal business.
      19          8.   All of the Napoli Bern Entities, except Napoli Bern Ripka & Associates,

      20    LLP, and all of the Napoli Entities and Bern Entities are successors in interest to Napoli
      21    Bern Ripka & Associates, LLP.
      22              9.   Plaintiff is informed, believes, and based thereon alleges that adherence to
      23    the fiction of the separate existence of Napoli Bern Ripka & Associates, LLP or any of
      24    the Napoli Bern Entities, Napoli Entities, or Bern Entities as separate from either of
      25    defendants Bern or Napoli would permit an abuse of the Limited Liability Partnership
      26    and company privilege and would sanction fraud and/or promise injustice by virtue ofthe
      27    facts set forth herein. As a result of these, the following listed, and other factors, the
      28    Napoli Bern Entities are the “alter egos” of each of defendants Napoli and Bern and it
           370210.1                                      4                    Case No. 2:15-cv-00652-AB-CE
                                             FIRST AMENDED COMPLAINT
                                                                                    Page 14 of 45
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       1    would be inequitable not to treat, for purposes of this case, the actions of the Napoli
       2    Bern Entities as the actions of Napoli and Bern: Similarly, the Napoli Entities are
       3    “alter egos” of Napoli and the Bern Entities are “alter egos” of Bern, and it would be
       4    inequitable not to treat, for the purposes of this case, the actions of the Bern Entities as
       5    the actions of Bern and the actions of the Napoli Entities as the actions of Napoli.
       6                 a.     Napoli Bern Ripka & Associates LLP and each of the Napoli Bern
       7 Entities, the Napoli Entities, and the Bern Entities have always been inadequately
       8 capitalized;
       9                 b.     there is unity of interest, ownership and operation between the
      10 Napoli Bern Entities and Napoli and Bern;
      11                 c.     there is a unity of interest, ownership and operation between the
      12 Napoli Entities and Napoli;

~ H   13              d.    there is a unity of interest, ownership and operation between the
 4~   14 Bern Entities and Bern;
 ~    15                 e.     Napoli and Bern have caused the Napoli Bern Entities not to
      16 observe appropriate entity formalities;
      17                 f.     Napoli has caused the Napoli Entities not to observe the appropriate
      18 entity formalities;
      19                 g.     Bern has cause the Bern Entities not to observe the appropriate
      20 entity formalities;
      21                 h.     Napoli and Bern have used assets of each of the Napoli Bern Entities
      22 for their personal use and caused assets of each of them to be transferred to them or to
      23 entities under their control without adequate consideration, withdrew funds from the bank
      24 accounts of them for their own and unrelated use of other entities or persons under their
      25 domination and control, and caused the business and monies that should have been
      26 accounted pursuant to the contracts herein to be co-mingled and transferred by and
      27 between the bank accounts of the respective business entities;
      28                 i.     Napoli has used assets of each of the Napoli Entities for his personal
           370210.1                                      5                    case No. 2:15-cv-00652-AB-CE
                                            FIRST AMENDED COMPLAINT
                                                                                    Page 15 of 45
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           I   use and caused assets of each of them to be transferred to them or to entities under his
          2 control without adequate consideration, withdrew finds from the bank accounts of them
          3 for his own and unrelated use of other entities or persons under his domination and
          4 control, and caused the business and monies that should have been accounted pursuant to
          5 the contracts herein to be co-mingled and transferred by and between the bank accounts of
          6 the respective business entities;
          7                 j.     Bern has used assets of each of the Bern Entities for his personal use
          8 and caused assets of each of them to be transferred to them or to entities under his control
          9 without adequate consideration, withdrew fUnds from the bank accounts of them for his
         10 own and unrelated use of other entities or persons under his domination and control, and
         11 caused the business and monies that should have been accounted pursuant to the contracts
         12 herein to be co-mingled and transferred by and between the bank accounts of the

         1 3 respective business entities;
         14               k.     Defendants Bern and Napoli each exercised such complete control
~ !-     15 and dominance of the business assets of the Napoli Entities and used and mingled the
         16 assets and monies ofthem such that an individuality or separateness ofNapoli Bern Ripka
         17 & Associates, LLP, the Napoli Bern Entities and defendants Bern and Napoli does not,
         18 and at all times herein mentioned did not, exist.
         19                 1.     Defendant Napoli exercised such complete control and dominance of
         20 the business assets of the Napoli Entities and used and mingled the assets and monies of
         21 them such that an individuality or separateness of the Napoli Entities and Napoli does not,
         22 and at all times herein mentioned did not, exist.
         23                 m.     Defendant Bern exercised such complete control and dominance of
         24 the business assets of the Bern Entities and used and mingled the assets and monies of
         25 them such that an individuality or separateness ofthe Bern Entities and Bern does not, and
         26 at all times herein mentioned did not, exist.
         27                 n.     The activities and business of Napoli Bern Ripka & Associates and
         28 the Napoli Bern Entities was carried out without maintaining adequate records,
               370210.1                                     6                   Case No. 2:15-cv-00652-AB-CE
                                              FIRST AMENDED COMPLAINT
                                                                                      Page 16 of 45
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        1 accounting or minutes of any corporate proceedings, and defendants entered into personal
        2 transactions and transactions on behalf of other entities contracted by them, on their own
        3 behalf, without the approval or knowledge of other partners,joint venturers, and/or clients
        4 whose lawsuit proceeds should have been held in trust.
        5                    o.    The activities and business of the Napoli Entities was carried out
        6 without maintaining adequate records, accounting or minutes of any corporate
        7 proceedings, and defendants entered into personal transactions and transactions on behalf
        8 of other entities contracted by them, on their own behalf, without the approval or
        9 knowledge of other partners,joint venturers, and/or clients whose lawsuit proceeds should
       10 have been held in trust.
       11                    p.    The activities and business of the Bern Entities was carried out
       12 without maintaining adequate records, accounting or minutes of any corporate
       13 proceedings, and defendants entered into personal transactions and transactions on behalf

       14 of other entities contracted by them, on their own behalf, without the approval or

~ ~<   1 5 knowledge of other partners,joint venturers, and/or clients whose lawsuit proceeds should
       16 have been held in trust.
       17              10.   PLAINTIFF is unaware of the true names and capacities of Defendants
       18    Does 1 through 50 and, for that reason, said Defendants have been named herein by
       19    their fictitious names. PLAINTIFF will, if necessary, amend this Complaint to allege
       20    the true names and capacities of Defendants Does I through 50 when he ascertains that
       21    information. PLAINTIFF alleges that Defendants Does 1 through 50 are liable for the
       22    acts and omissions of the other Defendants, as alleged herein.
       23              11.   Each of the Defendants was acting, with respect to the matters that are the
       24    subject of this action, as the agent co-conspirator of each of the other Defendants, and
       25    each of the Defendants was acting within the course and scope of such agency and
       26    conspiracy in connection with said matters.
       27              12.   On or about March 7, 2011, PLAINTIFF and Defendants entered into a
       28    written agreement (the “First Agreement”), a copy of which is attached hereto as
            370210.1                                       7                   Case No. 2:15-cv-00652-A8-CE
                                              FIRST AMENDED COMPLAINT
                                                                                     Page 17 of 45
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          1    Exhibit I and incorporated herein by reference, pursuant to which PLAINTIFF agreed
          2    that his law office, the Law Office of Marc I. Willick, would act as local counsel for
          3    Defendants in asbestos related cases referred by Defendants to PLAINTIFF.
          4    PLAINTIFF and Defendants agreed that the fees generated from these cases would be
          5    divided boo to PLAINTIFF and         9000   to Defendants.
          6              13.   On or about May 20, 2011, PLAINTIFF and Defendants entered another
          7    written agreement (the “Second Agreement”), a copy of which (except for Exhibit C
          8    thereto, which contains confidential information) is attached hereto as Exhibit 2 and
          9    incorporated herein by reference, pursuant to which Defendants agreed to employ
         10    PLAINTIFF under the terms contained in the Second Agreement.
         11              14.   PLAINTIFF ended his employment with Defendants on or about
:~       12    Decemberl4,2012.
     ~   13                                 FIRST CAUSE OF ACTION
         14                          (For An Accounting Against All Defendants)
         15              15.   PLAINTIFF re-alleges and incorporates by reference herein paragraphs 1     -




~        16    l4ofthisComplaint.                    .



         17              16.   Based on the foregoing allegations, PLAINTIFF is entitled to an
~;       18    accounting reflecting the fees received by Defendants on cases filed or prosecuted by
         19    Defendants in PLAINTIFF’s name, cases brought to them by PLAINTIFF, and cases
         20    referred to Defendants by PLAINTIFF’s referral sources.
         21                                SECOND CAUSE OF ACTION
         22                         (For Breach of Contract Against All Defendants)
         23              17.   PLAINTIFF re-alleges and incorporates by reference herein paragraphs I     -




         24    16 of this Complaint.
         25              18.   Defendants filed and prosecuted multiple cases in PLAINTIFF’s name
         26    without PLAINTIFF’s knowledge or consent including by affixing an electronic image
         27    of PLAINTIFF’s signature on pleadings, use of the designation “Is!” on a signature
         28    line indicating PLAINTIFF, and by filing pleadings and/or failing to update pleadings
              370210.1                                       8                 Case No. 2:15-cv-00652-AB-CE
                                                FIRST AMENDED COMPLAINT
                                                                                     Page 18 of 45
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            I    that indicated to the Court, counsel or clients that PLAINTIFF was counsel on the
            2    case. PLAINTIFF is informed and believes, and on that basis alleges, that fees were
            3    generated and received in those cases by the DEFENDANTS herein. Under the First
            4    Agreement, PLAINTIFF is entitled to a portion of the fees received by Defendants on
            5    account of such cases. PLAINTIFF is presently unaware of the details regarding the
            6    cases in question, including the amount of the fees received by Defendants, because
            7    Defendants have refused to provide him with the details or otherwise provide an
            8    accounting with respect to any cases. However, PLAINTIFF is informed and believes,
            9    and on that basis alleges, that he is entitled to substantial compensation from
           10    Defendants with respect to such cases. Furthermore, PLAINTIFF learned that months
           11    after PLAINTIFF’s departure, DEFENDANTS told the Veterans Administration that
           12    PLAINTIFF was counsel of record when the VA gave DEFENDANTS notice of lien

~ II       13    on settlements of over one million dollars from which DEFENDANTS took and kept a
~! !~ ;~   14    fee after PLAINTIFF’s last day of employment.
    ~      15           19. Pursuant to the Second Agreement, for asbestos cases that PLAINTIFF
t i~       16    brought to Defendants, PLAINTIFF is entitled to a portion of the fees received by
           17    Defendants. PLAINTIFF is presently unaware of the details regarding the cases in
           18    question, including the amount of the fees received by Defendants, because
           19    Defendants have refused to provide him with the details or otherwise provide an
           20    accounting with respect to such cases.         However, PLAINTIFF is informed and
           21    believes, and on that basis alleges, that he is entitled to substantial compensation from
           22    Defendants with respect to such cases.
           23              20.   Pursuant to the Second Agreement, PLAINTIFF and Defendants agreed
           24    that the referral sources existing at the time the Second Agreement was made would
           25    remain PLAINTIFF’s in the event that the parties decided to terminate the Second
           26    Agreement for any reason, and that in the event of a breach of the PLAINTIFF’s rights
           27    with respect to his referral sources, PLAINTIFF would be entitled to certain
           28    compensation based on the amount of fees that Defendants received from cases
                370210.1                                    9                    Case No. 2:15-cv-00652-AB-CE
                                                FIRST AMENDED COMPLAINT
                                                                                       Page 19 of 45
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             1    referred to them by PLAINTIFF’s sources. PLAINTIFF is informed and believes, and
            2     on that basis alleges, that subsequent to his termination, Defendants received
            3     substantial fees on cases referred to Defendants by PLAINTIFF’s referral sources.
            4     PLAINTIFF is presently unaware of the details regarding the cases in question,
            5     including the amounts of the fees received by Defendants, because Defendants have
            6     refused to provide him with the details or otherwise provide an accounting with respect
            7     to such cases. However, PLAINTIFF is informed and believes, and on that basis
            8     alleges, that he is entitled to substantial compensation from Defendants with respect to
            9     such cases.
           10               21.   Pursuant to the Second Agreement, for cases assigned to PLAINTIFF,
           11     PLAINTIFF is entitled to a portion of the fees received by Defendants. PLAINTIFF is
           12     presently unaware of the details regarding the cases in question, including the amount
           13     of the fees received by Defendants, because Defendants have refused to provide him

           14     with the details or otherwise provide an accounting with respect to such cases.
           15     However, PLAINTIFF is informed and believes, and on that basis alleges, that he is
           16     entitled to substantial compensation from Defendants with respect to such cases.
j   ~
           17               22.   Pursuant to the Second Agreement, DEFENDANTS were designated as
    ~;     18     PLAINTIFF’s representative to communicate that PLAINTIFF left employment with
    S      19     DEFENDANTS and agreed to promptly give such notice to all persons (clients and
           20     Courts) and provide copies of such notices to PLAINTIFF. DEFENDANTS breached
           21     this duty completely and as set forth above, all to PLAINTIFF’s damage.
           22               23.   PLAINTIFF has complied with all of his contractual obligations to
           23     Defendants except to the extent that compliance has been excused.
           24               24.   Defendants breached their obligations to PLAINTIFF, as alleged above, as
           25     a result of which PLAINTIFF is entitled to, among other things: (a) an accounting to
           26     determine the extent of compensation to which PLAINTIFF is entitled; and (b)
           27     damages based on the results of the accounting and/or according to proof at trial.
           28               25.   The amount of damages to which PLAINTIFF is entitled is substantially in
                 370210.1                                     10                  Case No. 2:I5-cv-00652-AB-CE
                                                   FIRST AMENDED COMPLAINT
                                                                                        Page 20 of 45
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          1    excess of the jurisdiction limit of this Court.
          2                                 THIRD CAUSE OF ACTION
          3                               (For Fraud Against All Defendants)
          4              26.   PLAINTIFF re-alleges and incorporates by reference herein paragraphs I     -




          5    25 of this Complaint.
          6              27.   Defendants, and each of them, entered into the First Agreement without
          7    having any intention of complying with the promises that they made to PLAINTIFF in
          8    the First Agreement, with the purpose of deceiving PLAINTIFF into providing the
          9    services required of him under the First Agreement, and in wanton disregard for
         10    PLAINTIFF’s rights and well-being. In particular, Defendants, and each of them, had
         11    no intention of paying PLAINTIFF the amount to which he was or would be entitled
         12    under the First Agreement. None of the Defendants disclosed their true intent to
         13    PLAINTIFF, and PLAINTIFF did not discover Defendants’ true intention until after
~   ~!   14    the Second Agreement was terminated.

         15              28.   Defendants entered into the Second Agreement without having any
    jj   16    intention of complying with the promises that they made to PLAINTIFF in the Second
         17    Agreement, with the purpose of deceiving PLAINTIFF into providing the services
         18    required of him under the Second Agreement, and in wanton disregard for
£        19    PLAINTIFF’s rights and well-being. In particular, Defendants had no intention of

         20    paying PLAINTIFF the amount to which he was or would be entitled under the Second
         21    Agreement.        Defendants did not disclose their true intent to PLAINTIFF, and
         22    PLAINTIFF did not discover Defendants’ true intention until after the Second
         23    Agreement was terminated.
         24              29.   Prior to the time when PLAINTIFF signed the Second Agreement, and
         25    during the course of the oral negotiations that led to the execution of that agreement,
         26    and even after PLAINTIFF signed that agreement, Defendants Napoli and Bern orally
         27    represented to PLAINTIFF that they had the ability to, and would, provide
         28    PLAINTIFF with full and timely accountings reflecting the compensation to which
              370210.1                                     11                  Case No. 2:15-cv-00652-AB-CE
                                                FIRST AMENDED COMPLAINT
                                                                                     Page 21 of 45
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             I    PLAINTIFF was and would be entitled. These representations were knowingly false
             2    and were made with the intent of deceiving PLAINTIFF into executing the Second
             3    Agreement, providing services pursuant to the Second Agreement and introducing
             4    Defendants to PLAINTIFF’s referral sources. PLAINTIFF believed Defendants’
             5    representations and relied on them in entering into the Second Agreement, thereafter
             6    providing services thereunder, and introducing his referral sources to Defendants.
             7                30.   PLAINTIFF relied on Defendants’ promises by, among other things,
             8    executing the First Agreement and Second Agreement, doing what was required of
             9    him under the First Agreement and Second Agreement, joining Defendants as their
            10    employee, and introducing Defendants to his referral sources. PLAINTIFF would not
            11    have done any of those things if he had known what Defendants’ true intentions were.
            12                31.   As a result of the foregoing, PLAINTIFF suffered damages in an amount

~ ~:   !~   13    to be established at trial.
    4~      14           32. Further, as a result of Defendants’ conduct, PLAINTIFF is entitled to
    !~:     15    recover punitive damages in an amount sufficient to serve as an appropriate
            16    punishment in light of all of the facts and circumstances, including Defendants’
~
            17    financial conditions.
            18                                  FOURTH CAUSE OF ACTION
            19              (For Violation of Cal. Bus. & Prof. Code   §   17200 Against All Defendants)
            20                33.   PLAINTIFF re-alleges and incorporates by reference herein paragraphs 1       -




            21    32 of this Complaint.
            22                34.   PLAINTIFF is informed and believes, and on that basis alleges, that
            23    Defendants’ misconduct, as alleged herein, is part and parcel of a pervasive scheme in
            24    which Defendants underpaid, refused to account to, and have otherwise mistreated
            25    their employees and similarly situated attorneys who entered into similar agreements
            26    with DEFENDANTS and each of them.
            27                35.   Defendants’ misconduct constitutes a violation of Cal. Bus. & Prof. Code
            28    §   17200.
                 370210.1                                       12                    Case No. 2:15-cv-00652-AB-CE
                                                     FIRST AMENDED COMPLAINT
                                                                                            Page 22 of 45
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             I                                FIFTH CAUSE OF ACTION
             2                   (For Negligent Misrepresentation Against All Defendants)
             3             36.   PLAINTIFF re-alleges and incorporates by reference herein paragraphs I      -

             4    35 of this Complaint.
             5             37.   Defendants, and each of them, had a duty of care to make accurate
             6    representations to plaintiff concerning their ability to account for settlements and fees
             7    in cases as described above.
             8             38.   Defendants, and each of them, breached their duty of care to plaintiff by
             9    carelessly and negligently making false representations to plaintiff that they were so
            10    able and as further alleged as follows.
            11             39.   Plaintiff justifiably and detrimentally relied on the false and negligent
            12    representations of Defendants, and each of them, by, among other things, delaying the
            13    filing of this lawsuit in anticipation of a reasonable mutual resolution of the
            14    outstanding obligations of the DEFENDANTS under the contracts. During that delay,
            15    Defendants have taken various actions causing their assets to dissipate and for the
~ ~;   ~.   16    purpose of hiding their assets.
  ~~        17         40.     Starting in December of2O 12 Defendant Napoli began a cooperative and

            18    conciliatory dialog with PLAINTIFF about accounting for the fees and percentage
            19    owed PLAINTIFF, and told PLAINTIFF in telephone conversations, “you
            20    [PLAINTIFF] have nothing but friends here,” and that DEFENDANTS providing an
            21    accounting and paying referral fees rather than litigating over it is the way he preferred
            22    to handle it. Over the course of many months until shortly before PLAINTIFF
            23    understood that Defendant Napoli suffered a personal health setback, Defendant
            24    Napoli emailed that DEFENDANTS would provide an accounting of the fees earned
            25    and percentages under the contracts. Defendant Napoli generally wrote that he was
            26    “working on it,” but had not completed it for various reasons, including personal
            27    hardship. He sent such emails on, among other dates, July 5, 2013, July 25, 2013,
            28    August22, 2013, September26, 2013, November 15, 2013 and November 19, 2013.
                 3702101                                     13                   Case No. 2:I5-ev-00652-AB-CE
                                                  FIRST AMENDED COMPLAINT
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        1              41.   In truth, DEFENDANTS were unable to provide such an accounting.
       2     Defendant Napoli was in a broader dispute with Defendant Bern about accounting for
       3     fees owed on cases referred to DEFENDANTS in general and the amounts owed by
       4     DEFENDANTS on the DEFENDANTS’ referred business. DEFENDANTS were
       5     engaged in arbitration and litigation with numerous other referring law firms for
       6     unpaid attorney fees.
       7               42.   Defendants Napoli and Bern ultimately sued each other in November
       8     2014 over their disagreements on how to handle DEFENDANTS’ accounting and
       9     accused each other under penalty of perjury of invading DEFENDANTS’ funds for
      10     inappropriate personal use. A receiver was appointed in their lawsuit for the limited
      11     purpose of handling the DEFENDANTS’ accounting functions without Defendants
      12     Bern or Napoli gaining, as the each alleged against each other, improper access to the
      13     accounting and funds for improper personal purposes. The law firms continue to
      14     conduct business, including on cases subject to the accounting sought in the instant
C     15     lawsuit.
      16               43.   Additionally, PLAINTIFF learned in November 2014 that millions of
      17     dollars in judgments were entered against DEFENDANTS for the percentage of

      18     attorney fees owed by DEFENDANTS to lawyers other than PLAINTIFF pursuant to
      19     separate contracts in cases other than those subject to the instant lawsuit that those
      20     lawyers referred and/or jointly advocacy with DEFENDANTS herein.
      21               44.   Last week, the receiver asked for appointment of his own lawyer, alleging
      22     that Defendants Bern and Napoli do business as no less than eleven LLPs that have a
      23     combined one hundred bank accounts.
      24               45.   Thus, as a direct and proximate result of the conduct of Defendants, and
      25     each of their negligent misrepresentations as alleged above, Plaintiff has sustained
      26     significant damages because, among other things, he is in a worse position than if they
      27     had filed suit before Defendants made their misrepresentations.
      28               WHEREFORE, PLAINTIFF prays that judgment be entered as follows:
            370210.1                                     14                   Case No. 2:15-cv-00652-AB-CE
                                             FIR5T AMENDED COMPLAINT
                                                                                    Page 24 of 45
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             1              A.   That Defendants be ordered to provide an accounting that reflects all fees
            2 and costs received by them for: (i) matters in which PLAINTIFF or the Law Office of
            3 Marc I. Willick or any substantially similar name was counsel of record; (ii) asbestos
            4 cases that PLAINTIFF brought to Defendants; and (iii) cases that came to Defendants
            5 through PLAINTIFF’s referral sources, as identified in Schedule C to the Second
            6 Agreement.
            7               B.   That PLAINTIFF be awarded his actual damages, according to proof;
            8               C.   That PLAINTIFF be awarded prejudgment interest;
            9               D.   That PLAINTIFF be awarded punitive damages in an amount sufficient to
           10 serve as an appropriate punishment to Defendants, according to proof;
           11               E.   That PLAINTIFF be awarded his costs of suit; and
           12               F.   That PLAINTIFF be awarded such further relief as the Court deems just
~ ~; ~     13                    and proper.

           14 DATED: February 2, 2018                   Respectfully submitted,
           15
                                                        MILLER BARONDESS, LLP

-a   -




           18                                           By:___________________________________
           19                                                  JAMES GOLDMAN
                                                               Attorneys for Plaintiff MARC I.
           20                                                  WILLICK
           21
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                 370210.1                                     15                   Case No. 2:1 5-cv-00652-AB-CE
                                                  FIRST AMENDED COMPLAINT
                                                                                         Page 25 of 45
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                    EXHIBIT 1

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                                    NAFOLI BERN RIPKAL
                                           A ~o r,,ays   At .La~v

                                                                                           Marc J. Bern
                                                                                             Senior Partner
                                                                                    Inbern@nbrIa~vfirm corn
                                                         March 7,2011
 VIA E-MAIL & FIRST CLASS MAIL
 Marc I. Willick, Esq.
 The Law Office of Marc I. Willick
 2361 Rosecrans Ave.. Suite 450
 El Segundo, CA 90245

 RE: Co-Counsel Agreement for California Asbestos Personal Injury Claims

 Dear Mr. Willick:

        This letter will confirm our mutual agreement related to our respective firms’
 representation of mesothelioma and lung cancer victims.

         We agree that the Law Office of Marc I. Willick will act as local counsel for asbestos
 related claims that Napoli Bern Ripka & Associates LLP refers to you. We will be responsible for
 the costs associated with each client’s ease and reimburse you for your case related costs.

          Any and all fees generated by these civil cases will be divided as follows: 10% to the Law
 Office of Marc I. Willick (“LOMIW”) and 90% to Napoli Bern Ripka & Associates LLP. The
 underlying client contract authorizes an attorney’s fee of 40% of the gross recovery in the
 lawsuit, unless specifically noted to the contrary. NBR will obtain its clients’ signatures on a
 letter pursuant to Rule 2-200 of the California Rules of Professional Conduct consenting and
 agreeing to this association and fee division.

        The Law Office of Marc I. Willick will be responsible for the following tasks:
        a. Filing all pleadings and/or motions, where electroNic filing by Napoli Bern Ripka &
           Associates LLP is not possible

        b. All court appearances excluding being a trial attorney at trial

        c. Providing any practice forms and templates for the associated pleadings, motions,
           notices, etc., where appropriate (e.g. pro hac vice applications, oppositions to motions
           for summary judgment from cases other than those covered by this letter agreement).

        d. Appear at depositions for direct examination of plaintiffs when available and assist in
           expert depositions when available. (This agreement does not obligate LOMIW to
           defend plaintiff product identification deposition cross examination which can go on
           for weeks, often out of state. It also presumes that counsel from NJ3R will be able to
           participate in depositions without the presence of LOMIW.)
                            NAPOLI J3ERN TtIPJCA & ASSOCiATES LLP

        3500 Sunrise Highway. S   eT 20’, Great River         )-888-l.4W-Jj’i-NY   www.nbrl,wtirm.com




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        e. Forwarding all correspondence and conformed copies of pleadings regarding each
           case to Napoli Bern Ripka & Associates LLP in a timely fashion

        r.   Meet with local clients to the extent you are available

          Napoli Bern Ripka & Associates LLP will be responsible for all other aspects of the
 litigation.
         In the event that LOMIW is asked or required to do additional work or provide additional
 legal services beyond those provided for pursuant to this letter agreement (e.g. opposing motions
 for summary judgment or frying the underlying case), LOMIW shall have the right and obligation
 to bring that fact to NBRs attention. LOMIW’s right to re-negotiate the agreement and local
 counsel fee would then be triggered.

        This agreement shall be terminable at will by either party.
        We look forward to working with you.
 Agre d:                                               Agreed:


 Mar11 Willick, Esq                                     larc J          sq
 The Law Office of Mast I. Willick                     Napoli     rn Ripka & Associates, LLP
                        C-.




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                   EXHIBIT 2

                                                                Page 29 of 45
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                                  EMPLOYMENT AGREEMENT

         THIS EMPLOYMENT AGREEMENT (‘Agreement”) is entered into tins _2Oth_ day of
  May, 2011 between NAPOLI BERN RIPKA & ASSOCIATES, LLP., a New York Registered
  Limited Liability Partnership (the “Law Firm”) and Marc Willick (the “Attorney”).

  ARTICLE ONE:           PRELIMINARY STATEMENTS

         1.1 The Law Firm is a New York Registered Limited Liability Partnership currently
  engaged in the practice of law at 3500 Sunrise Highway Suite T207, Great River. NY Suffolk
  County. in the Stale of New York.

          1.2 Attorney is an attorney licensed to practice law in the Slate of California.

        1.3 The Law Firm and Attorney (the “parties”) desire to enter and/or continue an
  employment agreement under the terms and conditions set forth herein.

  ARTICLE TWO: GENERAL AGREEMENT

                The Law Firm and Attorney hereby agree to commence and/or continue
  Attorney’s employment with the Law Firm as provided in this agreement.

           2.1 Term.     The term of this agreement shall begin on June 1, 2011, and shall continue
  until terminated as provided in Article Three. Attorney’s primary place of employment will be in
  Los Angeles, CA, although it is understood that he will travel from time to time as required in
  the course of his employment. Marc Willick will be known as a Non-equity California “Partner”
  to the Law Firm.

          2.2 Responsibilities. Attorney, subject to the direction and control of the Law Firm shall
  devote his full time, attention and energies to the business and affairs of the Law Firm. The
  Attorney shall perform to the best of his abilities such duties and responsibilities as may from
  time to time be specified by the Law Firm and will promptly comply with all applicable rules,
  regulations and orders that may from time to time be issued. Attorney shall perform his
  responsibilities with the Law Firm in a professional and competent manner. Attorney shall
  maintain a fully effective license to practice law in the jurisdiction(s) in which he is practicing as
  of the date of this Agreement.

          2.3 Compensation. As his entire compensation for all services rendered to the Law
  Firm as an employee during the term of this Agreement, the Law Firm shall pay Attorney a non
  refundable draw of Fifteen Thousand Dollars ($15,000.00) Dollars per month during his
  employment hereunder to be paid by the Law Firm not less frequently than semi-monthly in
  accordance with the regular procedures from time to time adopted by the Law Firm. The draw
  will be repaid as cases settle from the monies due to the Attorney under the “Bonus” provision of
  this agreement Section 2.6, herein. Notwithstanding any other provision of this Agreement,
  Attorney shall not have to repay any portion of the draw if the Bonus amounts to which Attorney




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  is entitled under this Agreement are less than the draw. Attorney shall be entitled to any Bonus
  amounts pursuant to this Agreement which exceed the compensation provided in this section 2.3.

  In addition to the draw above, the Law Firm shall be responsible for the office overhead for the
  Los Angeles office. including rent, telephone, malpractice insurance, and other Law Firm
  approved office expenses. The Law Firm will also provide an associate and secretary/paralegal
  for the LA office. The Law Firm will pay all necessary disbursements and expenses on all cases
  the LA office handles. Attorney shall be responsible for managing the Law Firm’s Los Angeles.
  California office and shall be responsible for supervising all attorneys and staff in said office.


           2.4 Cases brought to the firm by Attorney. Any and all cases brought into the Law
  Firm by the Attorney during the attorney’s term of employment herein, including all cases
  referred to said attorney personally, are deemed to be “Attorney Cases” for the purposes of this
  agreement as defined by Section 3.3 of this Agreement. At the time the Attorney brings in a
  personal referral case to the Law Firm, he must notify a Partner (“Paul J. Napoli, or Marc Jay
  Bern”) immediately in writing and obtain a Partner’s signature verifying acceptance of the case.
  It is then the responsibility of the Attorney to place a copy of the letter in the file. Attorney will
  not have the right to be assigned to the case or to perform work on any Attorney case without the
  express written permission of a Partner of the Law Firm. Attorney must have a letter which is
  acknowledged by a Senior Partner indicating in detail the ease referral, to wit, relationship
  between attorney and client; whether this is a referring attorney if so, the relationship
                                                                          -


  between referring attorney and staff attorney; date retained. Attached is a list of cases the
  Attorney is bringing to the firm which are from Attorney’s personal referral sources and
  are not from Law Firm advertising or referral sources. See Schedule “C”. A case
  originated from Law Firm advertising or referral sources is not a case brought to the firm
  by the Attorney. See Schedule C which also lists Attorney’s advertising or referral sources
  which are not Law Firm advertising or referral sources.

          (i) Referral of Individual Cases:

          (a) Medical Malpractice Cases: The referring fee to the Attorney, whether with or
          without any other attorneys shall be based on the medical malpractice contingent fee
          sliding scale retainer. e.g. the Attorney shall be entitled to 30% of 30% of the net
          attorneys fees on the first $250.000.0O of settlement. 25% of 25% of the next
          $250.000.00 and so on; or whatever fee agreement is applicable to the respective State.
          e.g. California. where the case is venued. In no event shall the Law Firm pay more than
          the sliding scale percentage whether there is one or more referring attorneys (subject to
          Schedule A.)

          (b) On General liability (e.g. trip and fall. automobile. etc.) cases the Attorney shall be
              entitled to thirty-three and one-third (33 1/3%) of the net attorneys’ fees received by
              the Firm if there is no other referring attorney. If there is a referring attorney, the
              referral fee to the Attorney and any other attorney/attorneys shall not exceed thirty-
              three and one-third (33 1/3%) percent of the net attorneys fees received by the Law




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             Firm. In no event shall the Law Firm receive less than sixty-six and two-thirds (66
             2/3%) percent of the net attorney& fees (subject to Schedule A.)

         (c) On Asbestos Cases brought to the Law Firm by the Attorney, the Attorney shall be
             entitled to fifty percent (50%) of the net attorneys’ fees received by the Firm if there
             is no other referring attorney. If there is a referring attorney, the Law Firm receives
             no less than fifty percent (50%) percent of the net attorneys’ fees.

         (ii) Referral Attorneys and/or Referral Sources: Each party agrees that the referral sources
         existing at the time of this arrangement are their own and shall be maintained as their
         own by the respective parties in the event the parties decide to terminate this agreement
         for any reason. The parties agree to the extent there is any breach of this section of the
         agreement damages shall be measured in accordance with Section 3.5. herein.

                  2.5 Vacations/fringe Benefits/ Policies. Attorney shall have the right to
  receive or participate in any “fringe benefits’ subject to the prerequisites which from time to time
  may be made generally available to the Law Firm’s employees. Attorney shall also be entitled to
  the benefit of and shall comply with all written Law Firm policies and procedures generally
  applicable to employees of the Law Firm at the same or comparable level as Attorney in the Law
  Firm as such policies and procedures may from time to time exist. Attorney shall be entitled to
  vacation in such amounts as set forth in the Personnel Handbook of the Law Firm.

           2.6     Bonuses. Attorney shall have the right to receive or participate in a “bonus” on
  any case that he is “assigned”. “Assigned” shall mean any case which Attorney is given by Marc
  Bern or Paul Napoli. for purposes of handling out of the LA office, settling and/or obtaining a
  verdict. The bonus shall be a percent of the Law Firm’s net attorneys’ fees received on the
  assigned case, in accordance with attached Schedule “A”. to be paid at the first pay period after
  all draft(s) are received and cleared at Law Firm’s bank (which is to be determined by any Senior
  Partner) and after all Law Firm policies regarding such case are complied with to any Senior
  Partner’s satisfaction. Any assigned case may be unassigned and/or reassigned by any Senior
  Partner of Law Firm at any time. This paragraph is not to be construed as an obligation of Law
  Firm to render any “bonus”. This paragraph will not survive termination of Attorney and is not to
  be construed as additional compensation upon termination (Subject to Schedule B.) This
  provision shall not diminish any rights to payments or benefits attorney possesses pursuant to
  sections 2.4. 2.5. 3.3. 3.4. 3.5. and Schedules A or B of this Agreement.


  ARTICLE THREE: TERMINATION

           3.1    This Agreement and all rights and obligations of the parties hereunder (except as
  set forth in Sections 3.2. 3.3. 3.4. 3.5. and 4.1. which shall survive any termination of this
  Agreement) shall terminate immediately upon the occurrence of any of the following events:

                 (a)     Upon the death of Attorne).




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                 (b)      Mental incompetence continuing for a period of two months or more, as
  determined by written consent of his legal representative, independent medical examination
  (which Attorney agrees to submit to whenever reasonably requested by the Law Firm); or by
  judicial determination.

                  (c)     Subject upon the ‘permanent disability’ excluding pregnancy of Attorney.
  As used herein, the term “permanent disability” shall mean physical or mental disability due to
  illness, accident or otherwise, which results in Attorney’s absence from work for sixty (60) or
  more working days within a twelve (12) month period.

                 (d)    Upon immediate notice from the Law Firm for “good cause”. As used
  herein the term “good cause” shall mean

                         (i)     the termination or suspension of Attorney’s right to practice law in
                                 the State of California, or any other jurisdiction the attorney may
                                 be licensed in; or

                         (ii)    good cause, defined as any willful breach of duty by the employee
                                 in the course of his employment, or in case of his habitual neglect
                                 of his duty or continued incapacity to perform it; or

                         (iii)   if Attorney at any time, except during the time provided in
                                 Sections 3.1(e) and (f) of this Agreement, accepts employment as a
                                 lawyer, employee, consultant or in any other capacity with a law
                                 firm, personal injury related business, or any other person, firm or
                                 corporation: or (iv) any breach by Attorney of this Agreement or
                                 any provision hereof, such breach not having been cured within
                                 fifteen (15) days after notice specifying such breach shall have
                                 been delivered to Attorney.

                (e)     Upon two (2) weeks’ or more prior written notice by attorney to the Law
  Firm at anytime for any reason or no reason whatsoever.

                 (f)    Upon two (2) weeks’ or more prior written notice by the Law Firm to
  Attorney at any time for any reason or for no reason whatsoever, or upon the payment by the
  Law Firm to Attorney of two weeks severance pay at any time for any reason or no reason
  whatsoever.

                 (g)    Upon the termination of the business operations.

          3.2   If this Agreement is terminated for any reason the parties agree that except as
  permitted by Section 3.3:

                  (a)    Attorney will not remove any existing case files from the premises without
  the prior written consent of the Law Firm. Violation by the Attorney of this provision shall




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  constitute a theft warranting criminal prosecution and disciplinary action by the State Bar of New
  York.

                  (b)   Attorney will not encourage any clients of the Law Firm to transfer their
  files from the Law Firm to Attorney or anyone else.

                   (c)    The Law Firm is hereby designated and appointed the party to notify
  clients that the Attorney has left the employment of the Law Firm. Such notice shall contain the
  information required by the Rules of Professional Conduct of the State Bar of New York.
  Attorney shall not personally. or through another party. notify the aforesaid clients of the
  termination of his relationship with the Law Firm. Law Firm shall provide copies of any such
  notice to Attorney.

           3.3     Notwithstanding anything to the contrary contained in this agreement, the parties
  agree that upon the termination of this agreement for any reason whatsoever. Attorney may
  become the attorney of record on and be responsible for any personal injury cases that were
  referrals to him/her personally. Referrals are considered to be those cases referred directly to
  Attorney, due to Attorney’s personal or business contacts that either verifiably pre-exist
  Attorney’s employment with the Law Firm, or that Attorney verifiably developed independently
  of his employment with the Law Firm and his efforts associated with his employment. For
  example, referrals within the meaning of this Agreement should not. however, include referrals
  resulting from contact with the Law Firm clients, or business associates of clients. even though
  the referrals arise as a result of the quality of Attorney’s efforts for the Law Firm. All cases
  which become the responsibility of Attorney after termination in accordance with this paragraph
  only shall be known as “Attorney Cases”.

         3.4     Should Attorney, his successor employer, his heirs, assignor or designees become
                 attorney of record on any Attorney Cases following termination of this
                 Agreement. the parties herein, agree to waive their respective claims on a
                 quantum meruit basis and bind themselves to the division of legal fees in
                 accordance with the following schedule:

                 (a)     Attorney will advance any costs incurred after Attorneys termination.

                 (b)     Attorney will reimburse Law Firm at the time that he! his successor
  employer, his heirs, assigns or designees becomes attorney of record for all costs previously
  advanced by Law Firm on behalf of each case.

                   (c)   The Law firm shall receive fifty percent (50%) of the net legal fees on any
  case, irrespective of whether an action was or was not commenced at the time of the Attorney’s
  termination. That the Attorney, his successor employer, his heirs, assignor or designees will
  notify the Law Firm within seven (7) days of the settlement. verdict or otherwise of any case
  which Attorney becomes the attorney of record. That the Attorney will notify the Law Firm the
  insurance carrier(s) and counsel for defendants upon settlement, verdict or otherwise that any
  drafts shall include Law Firm as a Payee.




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                  (d)     Attorney ~vill be limited to Thirty Three and One Third Percent (33 1/3%)
  of the net legal fees on any Attorney Case for which the Attorney does not assume representation
  following termination of his employment with the Law Firm.

           3.5    The parties acknowledge and agree that, with respect to cases for which
  responsibility is assumed by Attorney after termination other than ‘Attorney Cases” as defined in
  paragraph 3.3. it would be extremely difficult and impracticable if not impossible to determine
  the fair compensation payable to the Law Firm and to Attorney or such other law firm that
  Attorney may become associated with, for the reasonable value of the services performed by the
  Law Firm prior to the attorney’s termination as compared with the reasonable value of the
  services rendered by Attorney or any such other law firm subsequent to the Attorney’s
  termination. Accordingly, the parties agree that the law Firm shall receive the fees from all of
  such cases to secure such fees and costs advanced, and that, for the purposes of this Section 3.5.
  Attorney shall be entitled to receive Five (5%) of the Net Fees generated by all the cases, other
  than “Attorney Cases” as defined in paragraph 3.3, for which Attorney assumes responsibility
  after termination, subject to the following adjustments:

                 (a)     Attorney shall be entitled to receive an additional percentage of the Net
  Fees actually received from each case for overhead and additional legal services in accordance
  with the following schedule.

                         (i)    Five percent (5%) of the Net Fees with respect to any such case
                                that is settled after completion of the opening statement at trial by
                                the plaintiffs attorney provided that such opening statement takes
                                place thirty (30) or more days subsequent to Attorney’s
                                termination: provided further, that payment to Attorney under this
                                provision shall preclude payment to Attorney under any of the
                                following provisions for that case.

                         (ii)   Four percent (4%) of the Net Fees respect to any such case that is
                                settled and for which the net fee is received 181 or more days
                                subsequent to attorney’s termination.

                        (iii)   Three percent (3%) of the Net Fees respect to any such case that is
                                settled and for which the net fee is received 121 to 181 days
                                subsequent to attorney’s termination.

                        (iv)    Two percent (2%) of the Net Fees respect to any such case that is
                                settled and for which the net fee is received 61 to 120 days
                                subsequent to attorney’s termination.

                        (v)     One percent (1%) of the Net Fees respect to any such case that is
                                settled and for which the net fee is received 60 days subsequent to
                                attorney’s termination.

  “Settled” shall also include resolution by judgment or otherwise.




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  Other than the compensation that Attorney is entitled to as amounts under Sections 2.3, 2.4, 2.5,
  3.3. 3.4, 3.5, and Schedules A and B Attorney shall have no right to receive any other
  compensation from the Law Firm after the effective date of the termination of this Agreement,
  even though the Law Firm may, after the termination date, receive fees on cases that Attorney
  worked on during his employment.

  However, in the event that Attorney continues to represent clients of the Law Firm after
  Attorney’s termination date, Attorney shall be entitled to no portion of the fees generated by
  those cases in the event the Attorney has failed to comply with the provision of this Article three
  (including paragraphs 3.1 through 3.5. inclusive), shall be reasonable penalty imposed for such
  violation of the provisions of this paragraph.

  ARTICLE FOUR:          GENERAL PROVISIONS

          4.1     Confidential information and trade secrets. During the term of this Agreement
  and thereafter. Attorney and Law Firm agree that each will treat as confidential and secret all
  information, trade secrets and other proprietary information and data made available to him/her
  during the course of Attorney’s employment hereunder and that he/she will not directly or
  indirectly, make lu~own or divulge any such information or data or the names or addresses of any
  of the clients of the Law Firm or Attorney, and that he/she will not, subject to the terms of
  Article Three of this Agreement. directly or indirectly, either for himself/herself or for any other
  person, firm or company, call upon, solicit, divert or take away, any of the customers, business,
  patrons, clientele or employees of the Law Firm or Attorney. Attorney recognizes and
  acknowledges that all files, records, documents, forms and manuals as may exist from time to
  time are valuable, special and unique assets of the Law Firm business. Attorney will not during
  or after the term of his employment, disclose and/or use such assets or take any part thereof. In
  the event of a breach or threatened breach by Attorney of the provisions of this section, the Law
  Firm shall be entitled to an injunction restraining Attorney from disclosing and/or using, in
  whole or in part, such assets of the law firm.

          4.2.    Exclusivity. Attorney shall only perform services for the Law Firm and agrees
  that during the term of this Agreement. will not directly or indirectly render any services of a
  business, commercial or professional nature to any other person or organization, whether for
  compensation or otherwise, without the prior written consent of the Law Firm. TIus does not
  apply to Attorney’s limited work as a recurrent ocean lifeguard for Los Angeles County or as a
  swim coach which occasional work is in the nature of a hobby and does not interfere with
  Attorney’s lawyer duties.

           4.3     Malpractice Representation and Insurance Provisions. The Law Firm agrees
  that Attorney shall be covered as an employee of the Law Firm under the Law Firm’s malpractice
  liability insurance policies while in the course and scope of their employment with ?‘IAPOLI
  BERiV RIPKE4 & ASSOCIA TES, LLP. Said coverage includes both defense costs and claims
  liability. Attorney agrees to provide the firm with a letter of representation indicating that he
  knows of no pending or potential malpractice claims. Said letter shall become a pail of this
  agreement as Exhibit C.




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        4.4      RelatioDship Between the Parties. The relationship between the parties to this
  agreement is that of an employer and employee.

         4.5     Headings. Headings in this Agreement are provided for organizational purposes
  only and shall not control interpretation of this Agreement.

         4.6     Governing Law. This Agreement is drawn to be effective in and shall be
  construed in accordance with the Laws of the State of New York.

          4.7     Entire Agreement. This Agreement sets forth the entire understanding between
  the parties with respect to the subject matter hereof and no amendment nor variation of the terms
  of this agreement shall be valid unless made in writing and signed by Attorney and a duly
  authorized represehtative of the Law Firm.

          4.8     Severability. If any provision of this Agreement is declared invalid by any
  tribunal, the remaining provisions of the Agreement shall not be effected thereby.

           4.9   Non-waiver. No waiver of any right or obligation under this Agreement shall act
  as a continuing waiver of that right or obligation unless agreed in writing between the parties
  thereto.

        5.0      Notices. All notices permitted or required pursuant to this Agreement shall be
  personally delivered or mailed certified or registered mail, return receipt requested, as follows:

                  (I)     to the Law Firm at the actual place of business: and

                  (II)    to Attorney at his last known residence.

          5.1    Arbitration. Any and all disputes arising from or under this Agreement or
  breach thereof including terniination and/or discrimination, shall be settled by arbitration in
  accordance with the rules of the American Arbitration Association then in effect. Judgment
  upon the award rendered may be entered in any Court having jurisdiction thereof. Both parties
  waive any and all rights to bring a case in Court and waive any and all right to a jury trial. The
  attorney has no right to assign any rights, title or interest to arbitrate this agreement to any other
  person. corporation or other party. Any and all arbitration benefits herein are limited to the
  attorney and law firm.

          5.2    Indemnification.        Attorney agrees to fully indemnify and hold harmless Law
  Firm for any liabilities, debts, expenses. loans, disbursements, bills and/or costs of any prior law
  firm Attorney may have been associated with. Indemnification shall include the payment of
  reasonable attorney fees in defending any action which may be brought against the Law Firm
  and/or any Partners. Attorney shall apply for and Law Firm shall reimburse the premium for tail
  insurance on Attorney’s existing malpractice and office policies and indemnification for
  malpractice or liability coverage shall be limited to the limits of that insurance and not be borne
  personally by Attorney.




                                                                                                    W-06806

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        In Witness Whereof, the parties have executed this Agreement this ~ day of May,



                                                ~zrEli~.
                                          ~V4POLJ BERN RIPKA & ASSOG’IATES, LLP
                                                                ~1n
                                           7m~V~JL
                                          “Lcn~>f’üin”


                                          Marc Willick
                                          ‘~4!tomnev”




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                                              SCHEDULE “A”

  This schedule applies to all “Attorney Cases” a/k/a “Referred Cases” retained after June 1,2011:

  1. Personal Injury Files (including auto, premises, city, mass toil, and product liability)

  a)          On cases which settles and/or is resolved by suit settlement or otherwise for $1.00 to
              $74,999.99 the attorney shall receive ten (10%) percent of the net attorneys’ fees received
              by NBRAA;

  b)          On cases which settle and/or resolve by suit settlement or otherwise for $75,000.00 plus
              the attorney shall receive one-third (33.3%) percent of the net attorneys’ fees received by
              NBRA.

  2. Medical Malpractice Files

  a)          On cases which settles and/or is resolved by suit settlement or otherwise for $1.00 to
              $100,000.00 the attorney shall receive ten (10%) percent of the net attorneys’ fees
              received by NBRAA;

  b)      On cases which settles and/or is resolved by suit settlement or otherwise for $100,000.00
          plus the attorney shall receive a fee in the same percent of the same sliding scale that
          NBRAA receives a fee of the net attorneys’ fees received by NBRAA (i.e. a sliding scale
          of our sliding scale);

  3. Referrals and/or substitutions of other lawyers to the Law Firm originated by Attorney
  (subject to Partners discretion):
          15% of the net attorneys fees to NBRA.

  4. Asbestos Cases; As to an Attorney Case which may also be an assigned case, Attorney will
     be entitled to Fifty percent (50%) of the net attorneys’ fees to the Law Firm NBR.A as
     described above.


              n Witness Whereof, the parties have executed this Schedule to the Agreement this
  day   oth   of May, 2011.


  By: Paz I J Ncepoli                                      B)’: Marc Willick
  NAPOLI BERN RJPKA & ASSOC’, LLP                          “Attorney”
  “Lcni’ F!r,,i”



                                              SCHEDULE “B”




                                                                                                   W-06808

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  This schedule applies to all Non-Asbestos “Assigned Cases” settled and/or resolved after May
  31. 2011 which are not Attorney Cases:

      a)     On cases which settles and/or is resolved by suit settlement or otherwise for $1.00 to
             $74,999.99 the Attorney shall received zero (0%) percent of the net attorney’s fees
             received by the Firm:

      b)     On cases which settles and/or is resolved by suit settlenient or otherwise for
             $75,000.00 to $249,999.99 the Attorney shall received thiee and one-half (3.5%)
             percent of the net attorneys fees received by the Firm:

     c)      On cases which settles and/or is resolved by suit settlement or otherwise over
             $250,000.00 the Attorney shall receive five (5%) percent of the net attorney’s fees
             received by the Firm:

     d)      On cases which there is a verdict and recovery of $500.000.00 + the Attorney shall
             receive seven and one-half (7.5%) percent of the net attorneys fees received by the
             Firm.

  As for all Asbestos “Assigned Cases” settled and/or resolved after May 31. 2011 that are not
  Attorney Cases: On cases which settles and/or is resolved by suit settlement or otherwise for
  $1.00 or more the Attorney shall received ten (10%) percent of the net attorney’s fees received
  by the Firm. subject to the draw provision above;
  In witness whereof, the parties have executed this Schedule “B” to the Agreement this 20th
  da~of May. 2011.


  By:                                                 Marc Willick
  Napoli Bern Ripka & Associates. LLP.                Attorney
  “Law Firm”




                                                                                               W-06809

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                   EXHIBIT 2

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 Page Lines Nature             Change
 3    1-13   Addition                             JURISDICTION
                               1.    This case was originally filed in the Superior
                               Court of the State of California for the County of Los
                               Angeles. Defendants Paul Napoli, Marc Bern, Napoli
                               Bern Ripka & Associates, LLP; Napoli Bern Ripka
                               Shkolnik, LLP; Napoli Bern Ripka, LLP; Napoli Bern
                               Ripka Shkolnik & Associates, LLP; and Napoli Kaiser
                               Bern, LLP removed this case to this Court pursuant to
                               28 U.S.C. §~ 1332(d), 1441, and 1446.

                               2.     This Court has jurisdiction over this action
                               under the diversity of citizenship statute, 28 U.S.C. §
                               1332(a). This action is between citizens of different
                               states for an amount that exceeds the sum value of
                               $75,000, exclusive of interest and costs.

                                           ALLEGATIONS OF FACT
                                      Plaintiff Marc I. Willick (“PLAINTIFF”)
                               alleges:
 4          4-9     Addition   Napoli Bern, LLP; Napoli, Kaiser, Bern & Associates,
                               LLP; Napoli, Bern & Associates, LLP; Law Offices of
                               Napoli Bern, LLP; Law Offices of Napoli Bern Ripka
                               & Associates LLP; Law Offices of Napoli Bern Ripka
                               Shkolnik LLP; Law Offices of Napoli Bern Ripka
                               Shkolnik & Associates, LLP; Pasternack Tilker
                               Napoli Bern LLP; Napoli & Bern, LLP; Napoli Bern
                               Krentsel & Guzman, LLP; Worby, Groner, Edelman
                               & Napoli, Bern, LLP
 4          12-21   Addition   6.     Defendants Napoli Shkolnik PLLC; Napoli
                               Law PLLC; Paul Napoli Law PLLC; Napoli Kaiser &
                               Associates, LLP, and Paul Napoli PLLC (collectively,
                               the “Napoli Entities”) are purportedly limited liability
                               partnerships and companies, but, in reality, are names
                               used by Napoli to conduct his personal business.

                               7.    Defendants Bern Ripka LLP; Marc J. Bern &
                               Partners LLP; Marc J Bern, PLLC (collectively, the
                               “Bern Entities”) are purportedly limited liability
                               partnerships and companies, but in reality, are names

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                           used by Bern to conduct his personal business.

                           8.     All of the Napoli Bern Entities, except Napoli
                           Bern Ripka & Associates, LLP, and all of the Napoli
                           Entities and Bern Entities are successors in interest to
                           Napoli Bern Ripka & Associates, LLP.
 4      23     Addition    LLP
 4      24     Addition    Napoli Bern Entities
 4      24     Addition    or Bern Entities
 4      26     Addition    and company
  5     2-5    Addition    Similarly, the Napoli Entities are “alter egos” of
                           Napoli and the Bern Entities are “alter egos” of Bern,
                           and it would be inequitable not to treat, for the
                           purposes of this case, the actions of the Bern Entities
                           as the actions of Bern and the actions of the Napoli
                           Entities as the actions of Napoli.
  5     6      Addition    the
  5     7      Addition    Napoli Entities, and the Bern Entities
  5     1 1-14 Addition    c.     there is a unity of interest, ownership and
                           operation between the Napoli Entities and Napoli;

                           d.    there is a unity of interest, ownership and
                           operation between the Bern Entities and Bern;
  5     17-20 Addition     f.    Napoli has caused the Napoli Entities not to
                           observe the appropriate entity formalities;

                           g.     Bern has cause the Bern Entities not to observe
                           the appropriate entity formalities;
  5     21     Addition    Bern
  5     28     Addition    i.     Napoli has used assets of each of the Napoli
                           Entities for his personal
  6     1-13   Addition    use and caused assets of each of them to be transferred
                           to them or to entities under his control without
                           adequate consideration, withdrew funds from the bank
                           accounts of them for his own and unrelated use of
                           other entities or persons under his domination and
                           control, and caused the business and monies that
                           should have been accounted pursuant to the contracts
                           herein to be co-mingled and transferred by and




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                               between the bank accounts of the respective business
                               entities;

                               j.     Bern has used assets of each of the Bern
                               Entities for his personal use and caused assets of each
                               of them to be transferred to them or to entities under
                               his control without adequate consideration, withdrew
                               funds from the bank accounts of them for his own and
                               unrelated use of other entities or persons under his
                               domination and control, and caused the business and
                               monies that should have been accounted pursuant to
                               the contracts herein to be co-mingled and transferred
                               by and between the bank accounts of the respective
                               business entities;
  6          17    Addition    LLP
  6          17    Addition    Bern
  6          19-26 Addition    1.     Defendant Napoli exercised such complete
                               control and dominance of the business assets of the
                               Napoli Entities and used and mingled the assets and
                               monies of them such that an individuality or
                               separateness of the Napoli Entities and Napoli does
                               not, and at all times herein mentioned did not, exist.

                               m.     Defendant Bern exercised such complete
                               control and dominance of the business assets of the
                               Bern Entities and used and mingled the assets and
                               monies of them such that an individuality or
                               separateness of the Bern Entities and Bern does not,
                               and at all times herein mentioned did not, exist.
  6          28     Addition   Bern
  6          28     Change     “Entitities” to “Entities”
  7          5-16   Addition   o.     The activities and business of the Napoli
                               Entities was carried out without maintaining adequate
                               records, accounting or minutes of any corporate
                               proceedings, and defendants entered into personal
                               transactions and transactions on behalf of other
                               entities contracted by them, on their own behalf,
                               without the approval or knowledge of other partners,
                               joint venturers, and/or clients whose lawsuit proceeds
                               should have been held in trust.

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                           p.     The activities and business of the Bern Entities
                           was carned out without maintaining adequate records,
                           accounting or minutes of any corporate proceedings,
                           and defendants entered into personal transactions and
                           transactions on behalf of other entities contracted by
                           them, on their own behalf, without the approval or
                           knowledge of other partners, joint venturers, and/or
                           clients whose lawsuit proceeds should have been held
                           in trust.
  8     16     Change      “9” to “14”
  8     24     Change      “1 1” to “16”
  11    5      Change      “20” to “25”
  12    21     Change      “27” to “32”
  13    4      Change      “30” to “35”
  13    24     Change      “DEFEDANTS” to “DEFENDANTS”
  14    24     Change      “defendants” to “Defendants”
  14    25     Change      “plaintiff’ to “Plaintiff’




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